      Case 2:12-md-02323-AB Document 9554-1 Filed 01/03/18 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL            §
LEAGUE PLAYERS’ CONCUSSION          §
LITIGATION                          §
___________________________________ §              No. 12-md-2323 (AB)
                                    §
                                    §                    MDL No. 2323
THIS DOCUMENT RELATES TO:           §
ALL ACTIONS                         §

                             [PROPOSED] ORDER

      AND NOW this __ day of January 2018, upon consideration of the responses
to the Expert Report of Professor William Rubenstein, it is hereby ORDERED that
a deposition of Professor Rubenstein shall take place within the twenty (20) days
from the date of this ORDER at a time and place convenient to Professor Rubenstein.

      It is FURTHER ORDERED that:

      1.    the deposition shall last no more than seven (7) hours; and

      2.    the deposing attorneys shall be limited to two of the interested counsel
            who filed responses on January 3, 2018 to the Expert Report; and

      3.    the two designated interested counsel may file supplemental responses
            to Professor Rubenstein’s Expert Report on or before fourteen (14) days
            from the date of the deposition; and

      4.    each supplemental responses shall be limited to ten (10) pages.

Dated: January __, 2018               BY THE COURT:

                                      ___________________________
                                      Hon. Anita B. Brody
                                      United States District Court Judge



                                        1
